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    EXHIBIT A TO THE DECLARATION OF SHAELYN K.
    DAWSON IN SUPPORT OF DEFENDANTS’ RENEWED
             MOTION FOR PARTIAL STAY
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                                 #:10107
          Trials@uspto.gov                                         Paper No. 7
          571-272-7822                                 Entered: August 28, 2018



           UNITED STATES PATENT AND TRADEMARK OFFICE
                           ____________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           ____________

                             NIKON CORPORATION,
                                   Petitioner,

                                         v.

                        ASML NETHERLANDS B.V.
                           CARL ZEISS AG,
                             Patent Owner.
                             ____________

                               Case IPR2018-00687
                               Patent 6,731,335 B1
                                 ____________



    Before JEFFREY S. SMITH, DAVID C. MCKONE, and
    KEVIN W. CHERRY, Administrative Patent Judges.

    MCKONE, Administrative Patent Judge.



                                   DECISION
                       Institution of Inter Partes Review
                               37 C.F.R. § 42.108




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                                I. INTRODUCTION
          A. Background
          Nikon Corporation (“Petitioner”) filed a Petition (Paper 2, “Pet.”) to
    institute an inter partes review of claims 1–12 of U.S. Patent No. 6,731,335
    B1 (Ex. 1001, “the ’335 patent”). Petitioner indicates that Sendai Nikon
    Corporation, Nikon Inc., and Nikon Americas Inc. are real parties in interest.
    Pet. 4. Carl Zeiss AG and ASML Netherlands B.V. (collectively, “Patent
    Owner”) filed a Preliminary Response (Paper 6, “Prelim. Resp.”). Upon
    consideration of the Petition and Preliminary Response, we conclude, under
    35 U.S.C. § 314(a), that Petitioner has established a reasonable likelihood
    that it would prevail with respect to at least one challenged claim.
    Accordingly, we institute an inter partes review of claims 1–12 of the ’335
    patent.


          B. Related Matter
          The parties indicate that the ’335 patent has been asserted in Carl
    Zeiss AG v. Nikon Corp., Case No. Case No. 2:17-cv-03221 RGK (MRWx).
    Pet. 4; Paper 4, 2.


          C. Evidence Relied Upon
          Petitioner relies on the following prior art:
          Ex. 1006 (“Takahashi”) EP 0 757 476 A2               Feb. 5, 1997
          Ex. 1007 (“Gowda”)         US 6,115,066              Sept. 5, 2000
          Ex. 1008 (“Dickinson”) EP 0 707 417 A2               Apr. 17, 1996
          Ex. 1009 (“Matsunaga”) US 7,113,213 B2               Sept. 26, 2006



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           Petitioner also relies on the Declaration of Stuart Kleinfelder, Ph.D.
    (Ex. 1002, “Kleinfelder Decl.”).


           D. The Asserted Grounds
           Petitioner asserts the following grounds of unpatentability (Pet. 17–
    18):
                Reference(s)                   Basis           Claims Challenged
      Takahashi                          § 103(a)            1–5, 7, 9, and 11

      Takahashi and Gowda                § 103(a)            6, 8, 10, and 12

      Takahashi and Dickinson            § 103(a)            1–5, 7, 9, and 11
      Takahashi, Dickinson, and
                                         § 103(a)            6, 8, 10, and 12
      Gowda
      Matsunaga                          § 103(a)            1–5, 7, 9, and 11

      Matsunaga and Gowda                § 103(a)            6, 8, 10, and 12

      Matsunaga and Dickinson            § 103(a)            1–5, 7, 9, and 11
      Matsunaga, Dickinson, and
                                         § 103(a)            6, 8, 10, and 12
      Gowda

           E. The ’335 Patent
           The ’335 patent describes a complementary metal oxide
    semiconductor (CMOS) image sensor including a unit pixel. Ex. 1001,
    Abstract. A unit pixel is illustrated in Figure 4, reproduced below:




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    Figure 4 is a circuit diagram of a unit pixel. Id. at 4:50–51.
          Unit pixel 400 includes two photodiodes 401, 402 connected to
    transfer transistors M43 and M44, respectively. Id. at 4:60–67. The
    photodiodes receive light from an object and generate and integrate
    photoelectric charges. Id. at 5:2–4, 5:9–11. Transfer transistor M43, M44


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    transfer the generated charges to single sensing node A in response to
    control signals Tx1 and Tx2, respectively. Id. at 5:4–8, 5:11–15. The
    photodiodes share reset transistor M1, drive transistor M3, and select
    transistor M4. Id. at 4:67–5:2. Reset transistor Ml is coupled between
    power supply Vdd and single sensing node A and outputs the photoelectric
    charges on single sensing node A in response to control signal Rx. Id. at
    5:16–19. Drive transistor M3 is coupled to power supply Vdd and acts as a
    source follower in response to an output of single sensing node A. Id. at
    5:19–22. Select transistor M4 outputs image data in response to a control
    signal Sx, which is produced by address signals. Id. at 5:22–24.
          The operation of unit pixel 400 is shown in Figure 5, reproduced
    below:




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    Figure 5 is a timing chart illustrating control signals to control transistors in
    unit pixel 400. Id. at 4:52–53, 5:25–26.
          In sections A1 and A2, transfer transistors M43, M44, respectively,
    are turned on and select transistor M4 is turned off, so that photodiodes 401,
    402, respectively, are fully depleted. Id. at 5:29–33, 5:41–46. In sections


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    B1 and B2, transistors M43, M44, respectively, are turned off and
    photodiodes 401, 402, respectively, generate and integrate photoelectric
    charges. Id. at 5:35–40, 5:47–53. In section C1, reset transistor M1 and
    select transistor M4 are turned on and transfer transistors M43, M44 are
    turned off such that a reset voltage level is outputted through select transistor
    M44 and drive transistor M3 is driven by sensing node A. Id. at 5:54–59. In
    section D1, reset transistor M1 is turned off to settle the voltage and in
    section E1, the reset voltage is sampled. Id. at 5:61–65. In section F1,
    transfer transistor M43 is turned on and integrated photoelectric charges
    from photodiode 401 are transferred to the output terminal through sensing
    node A, drive transistor M3, and select transistor M4. Id.at 5:66–6:6. In
    section G1, transfer transistor M43 is turned off to settle the voltage and in
    section H1, data voltage level is sampled. Id. at 6:7–11. In sections C2–H2,
    sections C1–H1 are repeated for photodiode 402 and transfer transistor M44.
    Id. at 6:12–36.
          The sampled reset and data voltages are output to an analog to digital
    converter (ADC) and the difference between the reset and data digital
    signals becomes an output image value. Id. at 6:52–65.
          Claim 1, reproduced below, is illustrative of the invention:
                  1.    A method for driving a unit pixel which comprises
          a first photodiode for receiving light from an object and for
          generating and integrating photoelectric charges; a first transfer
          transistor coupled between the first photodiode and a single
          sensing node, for transferring the photoelectric charges
          generated in the first photodiode to the single sensing node, in
          response to a first control signal; a second photodiode for
          receiving light from the object and for generating and
          integrating photoelectric charges; a second transfer transistor
          coupled between the second photodiode and the single sensing

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          node, for transferring the photoelectric charges generating in
          the second photodiode to the single sensing node, in response to
          a second control signal; a reset transistor coupled between a
          power supply and the single sensing node, for outputting the
          photoelectric charges stored in the single sensing node, in the
          response to a third control signal; a drive transistor coupled to
          the power supply, for acting as a source follower in response to
          an output of the single sensing node; and a select transistor
          coupled to the drive transistor, for outputting an image data
          driven by the drive transistor in response to address signals, the
          method comprising the steps of:
                (a) fully depleting the first and second photodiodes;
                (b) receiving light in the first and second photodiodes and
                       generating photoelectric charges;
                (c) turning on the reset transistor, turning off the first and
                       second transfer transistors and turning on a
                       selector transistor, and outputting a reset voltage
                       level through the single sensing node, the drive
                       transistor and the select transistor;
                (d) turning off the reset transistor and then turning on the
                       first transfer transistor with said reset transistor
                       remaining off, and outputting a data voltage level
                       of the photoelectric charges generated in the first
                       photodiode through the single sensing node, the
                       drive transistor and the select transistor;
                (e) turning on the reset transistor, turning off the first
                       transfer transistor and outputting the reset voltage
                       level through the single sensing node, the drive
                       transistor and the select transistor; and
                (f) turning off the reset transistor and then turning on the
                       second transfer transistor with said reset transistor
                       remaining off, and outputting a data voltage level
                       of the photoelectric charges generated in the
                       second photodiode through the single sensing
                       node, the drive transistor and the select transistor.


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                                     II. ANALYSIS
          A.     Claim Construction
          We interpret claims of an unexpired patent using the broadest
    reasonable construction in light of the specification of the patent in which
    they appear. See 37 C.F.R. § 42.100(b); Cuozzo Speed Techs., LLC v. Lee,
    136 S. Ct. 2131, 2144–45 (2016). “Under a broadest reasonable
    interpretation, words of the claim must be given their plain meaning, unless
    such meaning is inconsistent with the specification and prosecution history.”
    Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1062 (Fed. Cir. 2016). Neither
    party raises a disputed issue of claim construction that we must address at
    this stage of the proceeding.


          B.     Asserted Grounds of Unpatentability
          A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
    between the claimed subject matter and the prior art are “such that the
    subject matter as a whole would have been obvious at the time the invention
    was made to a person having ordinary skill in the art to which said subject
    matter pertains.” We resolve the question of obviousness on the basis of
    underlying factual determinations, including: (1) the scope and content of
    the prior art; (2) any differences between the claimed subject matter and the
    prior art; (3) the level of skill in the art; and (4) objective evidence of
    nonobviousness, i.e., secondary considerations. 1 See Graham v. John Deere
    Co., 383 U.S. 1, 17–18 (1966).


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      The current record does not include allegations or evidence of objective
    indicia of nonobviousness.

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                   1. Level of Ordinary Skill
          Citing to Dr. Kleinfelder’s testimony, Petitioner contends that a
    skilled artisan would have had a Bachelor’s degree in electrical engineering
    and approximately four years of relevant experience with image sensors, or,
    alternatively, a Master’s degree in electrical engineering or related field with
    at least two years of relevant experience with image sensors. Pet. 14–15
    (citing Ex. 1002 ¶ 10). Patent Owner does not contest Petitioner’s proposal
    or provide a proposal of its own. We credit Dr. Kleinfelder’s testimony and,
    on the current record, adopt Petitioner’s proposed level of ordinary skill.


                   2. Alleged Obviousness of Claims 1–5, 7, 9, and 11 over
                      Takahashi
          Petitioner contends that claims 1–5, 7, 9, and 11 would have been
    obvious over Takahashi. Pet. 23–39. For the reasons given below,
    Petitioner has demonstrated a reasonable likelihood that it would prevail on
    this ground.


                         a. Scope and Content of the Prior Art—Overview of
                            Takahashi
          Takahashi describes a CMOS solid-state image pickup apparatus.
    Ex. 1006, 1:7–10. Figures 1 and 8 depict example circuit diagrams of
    similar embodiments. We focus primarily on the embodiment of Figure 8,
    reproduced below, although we discuss Figure 1 for components that overlap
    the two embodiments.




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    Figure 8 is a schematic circuit constructional diagram of a photoelectric
    converting device. Id. at 3:55–57. We note that most of the features of
    Figure 8 are described with respect to Figure 1. Figure 1 shows a similar

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    circuit that uses photo gate 2 to convert light to photoelectric charge. Id. at
    4:21–24, 5:17–20. “The embodiment [of Figure 8] is characterized in that
    no photo gate is used in the photoelectric converting unit but a pn
    photodiode 24 is used.” Id. at 9:31–34. Petitioner contends that Figures 1
    and 8 are otherwise identical, Pet. 22, a point that Patent Owner does not
    dispute. We agree that this is the most logical reading of Takahashi, as both
    figures share most of their numerical designations. Because claim 1 refers to
    a photodiode, rather than a photo gate, Figure 8 is the most relevant to this
    proceeding and we focus our discussion there, with reference to Takahashi’s
    discussion of Figure 1 where appropriate.
          In Figure 8, two instances of photodiode 24 are coupled to two
    instances of transfer switch MOS transistor 3, respectively. Ex. 1006, 4:24–
    25. MOS transistor for resetting 4 and source-follower amplifier MOS
    transistor 5 are coupled to power supply VDD and transfer switches 3. Id. at
    25–26. Horizontal selection switch MOS transistor 6 is coupled to amplifier
    5. Id. at 4:26–27.
          Takahashi’s circuit operation is shown in Figure 3, reproduced below:




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    Figure 3 is a timing chart for the embodiment of Figure 1. Id. at 3:44–45.
    Petitioner acknowledges that “Takahashi does not explicitly state that the
    timing of FIG. 3 is employed for FIG. 8,” but argues that “one of ordinary

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    skill in the art would immediately recognize that the timing chart of FIG. 3 is
    equally applicable to the pixel of FIG. 8 because the charge transfer and
    CDS [correlated double sampling] operations shown in FIG. 3 are applied
    equally to the pixel of photodiodes as well as the pixel of photo gates.”
    Pet. 37. As Petitioner notes, Takahashi describes no other timing for the unit
    pixel of Figure 8. Id. Thus, Petitioner argues, Figure 3 would be equally
    applicable to Figure 8 or, at least, would have been obvious to use with
    Figure 8. Id. at 38. Patent Owner does not advance any other reading of
    Takahashi. We agree with Petitioner that the most logical reading of
    Takahashi is that the timing diagram of Figure 3 applies equally to the
    circuit of Figure 8, at least as to the components that share the same
    numerical designations.
           With reference to Figure 3, during time T0, selection switch transistor
    6 is turned on via control pulse ɸS0 and reset transistor 4 is turned off via
    control pulse ɸR0. Ex. 1006, 4:58–5:7. During time T1, the reset voltage
    (referred to by Takahashi as “dark voltage”) is output and, subsequently, the
    top transfer switch transistor 3 is turned on via control pulse ɸTXo0. Id. at
    5:7–15. During time T2, photoelectric charge is transferred from the top
    photodiode 24 and, at time T3, the charge is output. Id. at 5:24–31. Figure 3
    shows that this process is repeated for the bottom transfer switch transistor 3
    (controlled by pulse ɸTXe0) and bottom photodiode 24. Id. at 6:6–13.


                         b. Claim 1
           The preamble of method claim 1 recites a specific structure of a unit
    pixel, including “a first photodiode,” “a first transfer transistor . . . for
    transferring the photoelectric charges . . . in response to a first control

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    signal,” “a second photodiode,” “a second transfer transistor . . . for
    transferring the photoelectric charges . . . in response to a second control
    signal,” “a reset transistor,” “a drive transistor coupled to the power supply,”
    and “a select transistor.” These components are arranged in claim 1’s
    preamble in substantially the same manner as shown in the ’335 patent’s
    Figure 4, reproduced above.
          Petitioner maps the components shown in Takahashi’s Figures 1 and 8
    to these components as follows:
          top photo gate 1 (Figure 1) or top photodiode 24 (Figure 8) to
                “first photodiode” of claim 1;
          top transfer switch transistor 3 and control signal ɸTXo0 to
                 “first transfer transistor” and “first control signal” of
                 claim 1;
          bottom photo gate 1 (Figure 1) or bottom photodiode 24
                (Figure 8) to “second photodiode” of claim 1;
          bottom transfer switch transistor 3 and control signal ɸTXe0 to
                “second transfer transistor” and “second control signal”
                of claim 1;
          reset transistor 4 to “reset transistor” of claim 1;
          source-follower amplifier transistor 5 to “drive transistor” of
                claim 1;
          selection switch transistor 6 to “select transistor of claim 1; and
          the junction of transistors 3, 4, and 5 to the “single sensing
                 node” of claim 1.
    Pet. 24–26, 36. A comparison of the ’335 patent’s Figure 4 with
    Takahashi’s Figure 8 shows that the components identified by Petitioner are
    arranged in the same manner as in the preamble of claim 1. Patent Owner
    does not contest this.



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          Petitioner contends that Takahashi teaches (e.g., through Figure 3 and
    its corresponding description) each step of claim 1 except for claim 1(a)
    (“fully depleting the first and second photodiodes”). Pet. 26–31, 36–38. We
    agree that Petitioner’s evidence supports a finding that Takahashi teaches
    each of steps 1(b)–1(f). Patent Owner does not contest these allegations.
    We briefly review Petitioner’s evidence as to steps 1(b)–1(f) and then
    discuss in detail Petitioner’s obviousness arguments as to step 1(a), which
    Patent Owner does contest.
          As to step 1(b), Petitioner contends that, inter alia, Figure 9 of
    Takahashi shows photodiodes 24 receiving light (hν) and generating
    photoelectric charges. Pet. 26; see also Ex. 1006, 9:37 (stating that charges
    are generated in photodiodes 24). As to step 1(c), as Petitioner notes
    (Pet. 27–28), during time T0, reset transistor 4 and selection switch
    transistor 6 are on, transfer switch transistors 3 are off, and a reset (“dark”)
    voltage is output through the junction of transistors 3, 4, and 5. Ex. 1006,
    4:58–5:11, Fig. 3. As to step 1(d), as Petitioner explains, at the end of time
    T0, reset transistor 4 is turned off; and during time T1, top transfer switch
    transistor 3 is turned on (with signal ɸTXo0) while reset transistor 4 is off,
    and charge from the top photodiode 24 is output through the junction of
    transistors 3, 4, and 5, source-follower amplifier transistor 5, and selection
    switch transistor 6. Id. at 5:7–23, Fig. 3. As to steps 1(e) and 1(f), Petitioner
    argues that Figure 3 shows that steps 1(c) and 1(d) are repeated for the
    bottom photodiode 24 and transfer switch transistor 3. Pet. 29–31, 36–37.
    We agree with Petitioner. See Ex. 1006, 6:6–13, Fig. 3.
          Petitioner concedes that Takahashi does not disclose step 1(a).
    Pet. 23. Nevertheless, Petitioner argues that it would have been obvious to

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    fully deplete Takahashi’s photodiodes “in order to eliminate any residual
    charges on the photodiode prior to capturing an image.” Id. Petitioner cites
    to Dr. Kleinfelder, who testifies:
          There are important reasons to deplete a photodiode prior to
          integration. One such reason is a phenomenon known as “dark
          current,”[2] which can cause charge to accumulate in a
          photodiode even without any light exposure. The gradual
          accumulation of this unwanted charge degrades the quality of
          an image in the form of noise. Another reason photodiodes are
          depleted before integration is that photodiodes may retain
          accumulated electric charges from a previous image if those
          electric charges were not fully transferred to the floating
          diffusion from the prior readout.
    Ex. 1002 ¶ 73.
          Dr. Kleinfelder also notes that the ’335 patent describes a step of fully
    depleting a photodiode as part of the prior art. Id. In particular, in
    describing Figures 2 and 3, which the figures themselves identify as “prior
    art,” the ’335 patent describes, as the first step of a process for a
    “conventional unit pixel”: “1) In section ‘A’ of FIG. 3, the transfer
    transistor M21 and the reset transistor M11 are turned on and the select
    transistor M41 is turned off, so that the photodiode 101 is fully depleted.”
    Ex. 1001, 2:17–20 (emphasis added), 2:59.
          Patent Owner contends that Takahashi does not teach step 1(a) of
    claim 1. Patent Owner acknowledges that the considerations identified by


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     “Dark current” is “(3) (photoelectric device) The current flowing in the
    absence of irradiation.” IEEE 100, THE AUTHORITATIVE DICTIONARY OF
    IEEE STANDARDS TERMS 267 (7th ed. 2000). On the current record, this
    appears to be different from the “dark voltage” described in Takahashi (e.g.,
    Ex. 1006, 5:7–11) as the voltage output when a pixel is reset.

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    Dr. Kleinfelder “generally need to be taken into account in image sensor
    design.” Prelim. Resp. 17. Nevertheless, Patent Owner argues, Takahashi
    already describes mechanisms for addressing dark current and residual
    charges and, therefore, a skilled artisan would not have had a reason to
    perform step 1(a) in Takahashi’s procedure. Id. at 17–18.
          With respect to Takahashi’s Figure 8, Takahashi states that “[c]harges
    generated by the control pulse ɸTX are completely transferred to the FD
    portion.” Ex. 1006, 9:37–39. Takahashi has similar description for the
    embodiment of Figure 1. Id. at 5:17–23 (“In this instance, it is preferable to
    set to a voltage relation such as to raise a potential well extending under the
    photo gate 2 and to allow the light generation carriers to be perfectly
    transferred to the FD portion 21. Therefore, so long as the complete transfer
    can be performed, the control pulse ɸTX is not limited to a pulse but can be
    also set to a fixed electric potential.”). Takahashi also describes another
    embodiment in which
          the surface p+-type layer 26 constructs the photoelectric
          converting unit together with the n-type layer 25 and a pixel is
          formed by a buried type photodiode. With such a structure, a
          dark current which is generated in the surface can be
          suppressed. As compared with Fig. 9, since high photo charges
          of a good efficiency can be obtained, an image signal of a high
          S/N ratio and a high quality can be obtained.
    Id. at 10:6–14.
          Patent Owner argues that Petitioner “ignores these teachings when it
    assumes that it would have been obvious for a [person of ordinary skill in
    the art] to add the step of ‘fully depleting the first and second photodiodes’
    to the Takahashi system” and “does not acknowledge this structural element
    and does not explain why it would have been obvious for a [person of

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    ordinary skill in the art] to implement the step of fully depleting the
    photodiodes when a structural element is already in place for accomplishing
    this result.” Prelim. Resp. 19–20. Referring to these aspects of Takahashi,
    Patent Owner argues that
          structural elements exist in Takahashi to ensure that the electric
          charges are fully transferred to the floating diffusion during
          readout. Thus, using Dr. Kleinfelder’s own logic, it is
          unnecessary in Takahashi to fully deplete the photodiodes
          before readout as an initial step in driving a unit pixel for
          capturing the next image.
    Id. at 20. Patent Owner argues that the precondition Dr. Kleinfelder sets for
    needing step 1(a) is not met in Takahashi. Id. at 21. According to Patent
    Owner, “[s]ince the charges in the photodiode are completely transferred to
    the floating diffusion during image readout, a [person of ordinary skill in the
    art] would have recognized no need to implement a step of fully depleting
    the photodiodes before integrating a new image.” Prelim. Resp. 22. Patent
    Owner characterizes this as “a strong teaching away that militates in favor of
    non-obviousness.” Id. at 2, 29.
          At this stage of the proceeding, we credit Dr. Kleinfelder’s testimony
    that a skilled artisan would have had reasons to implement step 1(a) in
    Takahashi’s system to avoid noise and degradation of image quality due to
    dark current or retained accumulated charge in the photodiodes. Ex. 1002
    ¶ 73. The ’335 patent clearly identifies this step as conventional in the art of
    CMOS image sensors. Ex. 1001, 2:17–20. Patent Owner points us to
    statements in Takahashi that it contends also solve the problems identified
    by Dr. Kleinfelder. Nevertheless, even if we fully credit these arguments,
    they do not persuade us that a skilled artisan would have been dissuaded or
    discouraged from implementing step 1(a) in Takahashi’s system. See In re

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    Mouttet, 686 F.3d 1322, 1334 (“[T]he mere disclosure of alternative designs
    does not teach away. This court has further explained that just because
    better alternatives exist in the prior art does not mean that an inferior
    combination is inapt for obviousness purposes.”) (internal citations and
    quotation marks omitted). Petitioner’s evidence supports a finding that a
    skilled artisan would have had reasons to implement step 1(a) of claim 1 in
    Takahshi’s system.
           In sum, on the current record, Petitioner has established a reasonable
    likelihood that it would prevail with respect to claim 1 as obvious over
    Takahashi.


                         c. Claim 2–5, 7, 9, and 11
           Claim 2 depends from claim 1 and recites that step 1(b) includes
    “generating and integrating the photoelectric charges of the first photodiode,
    regardless of the states of the reset transistor, the second transfer transistor
    and the select transistor, while the first transfer transistor is turned off.”
    Claim 4 depends from claim 1 and adds a similar limitation as to the second
    photodiode. Petitioner argues that Figure 3 of Takahashi shows the reset
    transistor, select transistor, and other transfer transistor changing states while
    the transfer transistor for a photodiode is off (and the photodiode is
    generating and integrating charge). Pet. 31–32, 38–39. Dr. Kleinfelder
    testifies that generation and integration of photoelectric charges on a
    photodiode occur whenever the corresponding transfer transistor is turned
    off. Ex. 1002 ¶ 74. This evidence supports findings that Takahashi teaches
    the additional limitations of claims 2 and 4.



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          Claim 3 depends from claim 2 and recites “wherein the method
    controls a depletion time and a photo charge generating and integrating time
    by adjusting a turn-on time and a turn-off time for the first and second
    transfer transistors.” Dr. Kleinfelder testifies that “a depletion time and a
    photo charge generating and integrating time are controlled by the timing
    operations of the corresponding transfer transistor, with depletion capable of
    occurring when the transfer transistor is turned on and generation and
    integration of photoelectric charges capable of occurring when the transfer
    transistor is turned off.” Ex. 1002 ¶ 75; Pet. 39. This evidence supports
    findings that Takahashi teaches the additional limitations of claim 3.
          Claims 5, 7, 9, and 11 depend from claim 1 and account for a settling
    time between when the reset or transfer transistors are turned off and the
    respective reset or data values are sampled. For each of these claims,
    Petitioner points to evidence, shown in particular in Figure 3, that Takahashi
    incorporates “a brief pause” between when the respective transistor is turned
    off and when the reset or data value is sampled. Pet. 32–36. This evidence
    supports findings that Takahashi teaches the additional limitations of claims
    5, 7, 9, and 11.
          In sum, on the current record, Petitioner has established a reasonable
    likelihood that it would prevail with respect to claims 2–5, 7, 9, and 11 as
    obvious over Takahashi. Patent Owner does not present separate argument
    for these dependent claims.




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                 3. Alleged Obviousness of Claims 6, 8, 10, and 12 over
                    Takahashi and Gowda
          Petitioner contends that claims 6, 8, 10, and 12 would have been
    obvious over Takahashi and Gowda. Pet. 41–44. For the reasons given
    below, Petitioner has demonstrated a reasonable likelihood that it would
    prevail on this ground.


                       a. Scope and Content of the Prior Art—Overview of
                          Gowda
          Gowda describes a CMOS image sensor in which correlated double
    sampling is performed entirely in the digital domain. Ex. 1007, Abstract.
    Figure 3, reproduced below, illustrates an example:




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    Figure 3 is a schematic block diagram of an image sensor. Id. at 3:44–45.
          In Gowda’s device 20, analog to digital converters (ADC) 40 1 to 40 N
    replace analog readout circuits to read the outputs of a plurality of pixels 30.
    Id. at 3:55–61. According to Gowda, “A/D converters 40 1 –40 N directly
    convert the reset level and signal level on the respective column busses 15 1 –


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    15 N to digital values, which are then stored in registers 42 1 –42 N .” Id. at
    3:61–64. Gowda states that
           The data stored in the registers are transferred to logic block 44
           which includes processing/subtraction circuitry to subtract the
           reset levels from the corresponding signal levels to complete a
           correlated double sampling operation. As a result, since noisy
           analog capacitors to store the reset and signal levels are
           obviated, the accuracy of the correlated double sampling is
           improved.
    Id. at 3:64–4:4.


                         b. Claim 6, 8, 10, and 12
           Claim 6 depends from claim 5 and recites “wherein the sampled reset
    voltage level is outputted to an analogue-to-digital converter so that the
    sampled reset voltage level is converted into a digital signal.” Claims 8, 10,
    and 12 depend from claims 7, 9, and 11, respectively, and add substantially
    the same limitation for the sampled data voltage levels (claims 7, 11) and
    reset voltage level (claim 9).
           Petitioner argues that Gowda provides an express example of the use
    of an ADC to sample reset and data voltage levels and convert them to
    digital signals. Pet. 41–43. As explained above, Gowda describes a CMOS
    imaging device in which “A/D converters . . . directly convert the reset level
    and signal level on the respective column buses . . . to digital values, which
    are then stored in registers . . . .” Ex. 1007, 3:61–64. Petitioner argues and
    Dr. Kleinfelder testifies that Gowda includes an explicit motivation to
    combine its ADCs with the pixels disclosed in Takahashi, namely, noise
    reduction and increased accuracy. Pet. 43–44 (citing Ex. 1007, 3:64–4:4);
    Ex. 1002 ¶ 76.

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          Petitioner’s evidence supports findings that Gowda teaches the
    additional limitations of claims 6, 8, 10, and 12, and that a skilled artisan
    would have had reasons to combine the teachings of Takahashi and Gowda.
          In sum, on the current record, Petitioner has established a reasonable
    likelihood that it would prevail with respect to claims 6, 8, 10, and 12 as
    obvious over Takahashi and Gowda. Patent Owner does not raise separate
    arguments for this ground. Prelim. Resp. 34.


                 4. Alleged Obviousness of Claims 1–5, 7, 9, and 11 over
                    Takahashi and Dickinson
          Petitioner contends that claims 1–5, 7, 9, and 11 would have been
    obvious over Takahashi and Dickinson. Pet. 47–49. For the reasons given
    below, Petitioner has demonstrated a reasonable likelihood that it would
    prevail on this ground.


                        a. Scope and Content of the Prior Art—Overview of
                           Dickinson
          Dickinson describes an active pixel image sensor with active pixel
    circuitry shared by multiple sensing elements. Ex. 1008, Abstract. Figure 4,
    reproduced below, illustrates an example:




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    Figure 4 is a circuit diagram of an active pixel image sensor. Id. at 3:9–10
          Photodiodes RD, GRN, and BL capture red, green, and blue light,
    respectively, and are connected through gating elements Q4, Q5, and Q6,
    respectively. Id. at 4:5–11. Each photodiode/gating element pair is
    connected in parallel to the gate of a source follower, formed by transistors
    Q2 and Q3, and also are connected to power source Vdd through reset
    transistor Q1. Id. at 4:11–15. In operation, inter alia, “[e]ach RD, GRN and
    BL photodiode is first pre-charged by connecting each photodiode to Vdd,




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    by holding the reset signal high while pulsing each of the gate transistors
    TX1 to TX3 as shown with timing ‘A’ [of Figure 5].” Id. at 4:20–25, Fig. 5.


                        b. Claim 1–5, 7, 9, and 11
          Petitioner contends that Dickinson includes an express disclosure of
    claim element 1(a), “fully depleting the first and second photodiodes.”
    Pet. 47. In particular, Petitioner contends that Dickinson’s disclosure
    relative to time period “A” of its Figure 5 (Ex. 1008, 4:20–25, quoted
    above), “corresponds exactly to the photodiode depletion operation
    described in the ’335 Patent” and shown in time periods A1 and A2 of the
    ’335 patent’s Figure 5. Pet. 45–47. Dr. Kleinfelder testifies that the
    operation Dickinson describes would accomplish the “fully depleting” step
    of claim 1. Ex. 1002 ¶ 70. Petitioner proposes combining Dickinson and
    Takahashi for the same reasons as given above for modifying Takahashi
    alone, namely, to deplete residual charge and dark current to reduce noise.
    Pet. 48–49. Here, Petitioner cites the same testimony of Dr. Kleinfelder.
    Id. (citing Ex. 1002 ¶¶ 72–73). See also Ex. 1002 ¶ 77 (“Dickinson and
    Takahashi are both directed to CMOS image sensors. A person of ordinary
    skill would have found it obvious to combine Takahashi with Dickinson to
    deplete the photodiodes prior to image capture. Such combinations are
    simply combining prior art elements according to known methods to yield
    predictable results.”). Petitioner relies on Takahashi for the remaining
    limitations of claims 1–5, 7, 9 and 11, as detailed above.
          Patent Owner repeats the arguments it makes for Takahashi alone,
    discussed above. Prelim. Resp. 27 (“It would not have been obvious to
    implement an additional procedural step in . . . Takahashi . . . to solve a

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    problem that was already addressed with structural elements in . . . [that]
    reference[]. That Dickinson arguably may describe this procedural step does
    not change the fact that a POSITA would not have been motivated to
    implement it.”). Additionally, Patent Owner argues that Dickinson
    “describes a relatively basic solution for implementing a color pixel,” and
    “describes no noise cancelling features and does not describe a system that
    uses double correlated sampling.” Id. Patent Owner argues that Dickinson
    would have been “unhelpful for addressing the complex structural solution[]
    proposed in Takahashi.” Id. at 28.
          As explained above for Takahashi alone, we credit Dr. Kleinfelder’s
    testimony that a skilled artisan would have had reasons to implement step
    1(a) in Takahashi’s system and are not persuaded by Patent Owner’s
    arguments that Takahashi teaches away from this. Dickinson is further
    evidence that fully depleting photodiodes before sampling them was
    conventional. For the reasons given above, Petitioner’s evidence supports
    findings that the remaining limitations of claims 1–5, 7, 9, and 11 are taught
    by Takahashi. On the current record, Petitioner has established a reasonable
    likelihood that it would prevail with respect to claims 1–5, 7, 9, and 11 as
    obvious over Takahashi and Dickinson.


                       5. Alleged Obviousness of Claims 6, 8, 10, and 12 over
                          Takahashi, Dickinson, and Gowda
          Petitioner contends that claims 6, 8, 10, and 12 would have been
    obvious over Takahashi, Dickinson, and Gowda. Pet. 49–50. Petitioner
    incorporates its arguments as to Takahashi and Gowda for its allegations as
    to Takahashi, Dickinson, and Gowda. Pet. 49–50. Patent Owner does not


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    raise separate arguments for this ground. Prelim. Resp. 34. For the same
    reasons given in Section II.B.3 above, Petitioner has established a reasonable
    likelihood that it would prevail with respect to claims 6, 8, 10, and 12 as
    obvious over Takahashi, Dickinson, and Gowda.


                 6. Alleged Obviousness of Claims 1–5, 7, 9, and 11 over
                    Matsunaga
          Petitioner contends that claims 1–5, 7, 9, and 11 would have been
    obvious over Matsunaga. Pet. 52–63. On April 24, 2018, the Supreme
    Court held that a decision to institute under 35 U.S.C. § 314 may not
    institute on less than all claims challenged in the petition. SAS Inst., Inc. v.
    Iancu, 138 S. Ct. 1348, 1369–60 (2018). Therefore, because we institute on
    the grounds discussed above for Takahashi, we institute on the Matsunaga
    grounds as well. Nevertheless, as explained below, Patent Owner raises
    arguments that, at this stage of the proceeding, have merit.


                        a. Scope and Content of the Prior Art—Overview of
                           Matsunaga
          Matsunaga describes an image system that uses an amplification-type
    MOS sensor for receiving an optical image through a photoelectric
    conversion element, converting the image into an electrical signal, and
    outputting the signal. Ex. 1009, Abstract. Matsunaga describes almost fifty
    embodiments, of which Petitioner (Pet. 50) focuses its allegations on the
    twenty-fifth embodiment, shown in Figure 61, reproduced below:




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    Figure 61 is a circuit diagram of a unit cell. Ex. 1009, 20:8–9.
          In Figure 61, photodiode selection transistors 63a, 63b select one the
    detection signals of photodiodes 62a, 62b, respectively, as an output of unit

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    cell P1-1-1 through output circuit 68. Id. at 63:10–18. Output circuit 68
    includes amplification transistor 64, which amplifies the electric charge
    signal from photodiodes 62a, 62b; vertical selection transistor 65 for
    selecting the unit cell; and reset transistor 66 for charging and discharging
    the electric charge applied to the gate of amplification transistor 64. Id. at
    63:24–31.
          The behavior of unit cell P1-1-1 is shown in Figure 62, reproduced
    below:




    Figure 62 is a timing chart showing the operation of the circuit of Figure 61.
    Id. at 20:10–11. The signal designations (6-1, 7-1, etc.) correspond to the
    signal lines of the same designations in Figure 61.
          When a reset pulse is applied to reset line 7-1, reset transistor 66 is
    turned on and the electric charge of the input terminal of output circuit 68 is


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    reset to zero. Id. at 66:28–36. After resetting, signal electric charge is
    accumulated in photodiodes 62a, 62b, for example, first photodiode 62a is
    read, then photodiode 62b. Id. at 67:4–13. A selection pulse on photodiode
    selection line 22-1 causes an output signal of photodiode 62a to be amplified
    by amplification transistor 64 and output to vertical signal line 8-1. Id. at
    67:14–22. A pulse on selection line 24-1 similarly causes a signal from
    photodiode 62b to be output on vertical signal line 8-1. Id. at 68:3–13.


                        b. Claim 1
          We first address the Petitioner’s allegations that Matsunaga teaches
    the structure recited in the preamble of claim 1. Petitioner maps the
    structure shown in Figure 61 of Matsunaga to the structure of claim 1’s
    preamble as follows:
          photodiode 62a to “a first photodiode” of claim 1;
          photodiode 62b to “a second photodiode” of claim 1;
          photodiode selection transistor 63a and photodiode selection
                line 22-1 to “a first transfer transistor” and “a first control
                signal” of claim 1;
          photodiode selection transistor 63b and photodiode selection
                line 24-1 to “a second transfer transistor” and “a second
                control signal” of claim 1;
          reset transistor 66 to “a reset transistor” of claim 1;
          conjunction of transistors 63a, 63b, 64, and 66 to “a single
                sensing node” of claim 1;
          amplification transistor 64 to “a drive transistor” of claim 1;
                and
          vertical selection transistor 65 to “a select transistor” of claim 1.
    Pet. 52–55.


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          As can be seen from Figure 61, vertical selection transistor 65 is
    connected to the power supply (the arrow at the junction of vertical selection
    transistor 65 and reset transistor 66) and amplification transistor 64 is
    connected to vertical selection transistor 65, rather than the power supply.
    Thus, the alleged drive transistor is not coupled directly to the power supply.
    Petitioner argues that amplification transistor 64, the alleged drive transistor,
    is “coupled to the power supply through select transistor 65 for acting as a
    source follower in response to an output of the single sensing node.” Pet. 54
    (emphasis added). Petitioner does not otherwise explain this argument or
    support it with additional evidence.
          In response, Patent Owner argues
          The ’335 patent clearly claims a circuit in which the power
          supply is coupled to the drive transistor, which in turn is
          coupled to the select transistor. To be clear, this would not
          exclude embodiments where other components are between the
          drive transistor and the power supply, or between the select
          transistor and the drive transistor. The ’335 patent does,
          however, require a specific arrangement and that arrangement is
          indisputably not present in Matsunaga.
    Prelim. Resp. 31–32 (emphasis added). Here, Patent Owner appears to
    concede that “a drive transistor coupled to the power supply” can include a
    drive transistor coupled, through another component, to the power supply;
    rather, Patent Owner argues, the intermediate component cannot be the
    select transistor, because the drive transistor and select transistor described
    in the ’335 patent are not arranged in that way. We are not persuaded.
    Claim 1 recites that the drive transistor is coupled to the power supply and
    the select transistor is coupled to the drive transistor. If we accept Patent
    Owner’s concession that the drive transistor can be coupled to the power


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    supply through another component, nothing in claim 1 excludes the select
    transistor from being the intermediate component. Patent Owner does not
    cite to other evidence suggesting claim 1 is more limited.
           Claim 1 recites “a select transistor coupled to the drive transistor, for
    outputting an image data driven by the drive transistor.” Relatedly, steps
    1(c) through 1(f) recite “outputting” reset and data voltages “through the
    single sensing node, the drive transistor and the select transistor.” Petitioner
    concedes that “Matsunaga does not disclose that the outputs are made
    ‘through’ the select transistor as claimed, because the select transistor 65
    locates above the drive transistor 64 in FIG. 61.” Pet. 62. Nevertheless,
    Petitioner argues that it would have been obvious to swap the positions of
    amplification transistor 64 and vertical selection transistor 65 and that to do
    so would have been “simply choosing from two predictable solutions or
    design choices with either choice having a reasonable expectation of
    success.” Id. at 62–63. With transistors 64 and 65 reversed, the outputs
    would be through vertical selection transistor 65.
           Petitioner supports its argument with the testimony of Dr. Kleinfelder,
    who repeats this argument in his testimony and adds that “the ordering of the
    connection does not affect the basic functionality of selecting and reading a
    pixel, and a person of ordinary skill in the art would have found it obvious to
    reverse the order as shown in Matsunaga.” Ex. 1002 ¶ 82. Dr. Kleinfelder
    also testifies:
           FIG. 61 of Matsunaga has the read (64) and select (65)
           transistors in a reversed order when compared with ’335 and
           Takahashi. One of ordinary skill in the art at the time would
           have been aware that both configurations had been proposed for
           use and/or actually used in image sensors of the day. One of


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             ordinary skill in the art would also have understood that the two
             variations are logically equivalent, albeit with certain subtle
             advantages and disadvantages to each. For example, the
             configuration in Matsunaga may under some circumstances
             allow a slightly wider useful range of output voltages, while
             that in ’335 and Takahashi may present a lower typical output
             capacitance at the column level. Ultimately, however, it would
             have been understood by one of ordinary skill in the art at the
             time that both are operated in the same logical fashion and yield
             the same fundamental results.
    Id. ¶ 49. Dr. Kleinfelder does not identify the basis for his testimony on this
    point.
             Patent Owner argues that Matsunaga’s twenty-fifth embodiment
    provides faster settling than Petitioner’s proposed modification and that in
    Matsunaga’s expected applications (video cameras, facsimile machines,
    copying machines, and scanners), reducing settling speed would be
    disadvantageous. Prelim. Resp. 33–34. Patent Owner does not support its
    argument with evidence at this stage of the proceeding. Nevertheless, in
    light of the conclusory nature of Petitioner’s supporting evidence, Patent
    Owner raises a legitimate concern regarding Petitioner’s proposed
    modifications to Matsunaga.
             Petitioner also concedes that Matsunaga does not teach step 1(a),
    “fully depleting the first and second photodiodes.” Pet. 61. Nevertheless,
    Petitioner argues that “it would have been obvious to one of ordinary skill in
    the art to fully deplete the photodiodes in order to eliminate any residual
    electric charges prior to capturing an image for the reasons discussed above
    in connection with Takahashi.” Id. Petitioner cites the same expert
    testimony that it cites for its challenge based on Takahashi. Id. at 61–62
    (citing Ex. 1002 ¶¶ 72–73).

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          As with Takahashi, Patent Owner argues that Matsunaga describes
    structural elements designed to address dark current and residual charges in
    the photodiodes and, thus, it would have been unnecessary to modify
    Matsunaga’s circuit. Prelim. Resp. 23–24. In particular, Matsunaga
    explains: (1) the use of the structure of Figure 30 “can prevent a dark current
    from leaking into the photodiode 83,” Ex. 1009, 72:36–41; (2) with the
    structure of Figures 25A and 25B, “the diffusion potential at the p-/p+
    boundary can partly prevent a dark current generated in the p--type substrate
    81 from the flowing to the p+-layer side,” id. at 70:27–35; and (3) with the
    structure of Figure 64, “p-type wells suited for the respective constituent
    elements can be formed, and leakage of a dark current into the photodiode
    can be prevented,” id. at 72:57–65. Patent Owner characterizes Matsunaga
    as including circuitry similar to that of Takahashi and presents arguments
    substantially similar to those presented for Takahashi (summarized above).
    Prelim. Resp. 24–26. As with Takahashi, Patent Owner characterizes
    Matsunaga’s disclosure as including “a strong teaching away that militates
    in favor of non-obviousness.” Id. at 29.
          As with Takahashi, and for the same reasons, we credit
    Dr. Kleinfelder’s testimony at this stage of the proceeding and find Patent
    Owner’s arguments to the contrary unpersuasive. We note further that
    Matsunaga’s disclosure is more equivocal on this point than Takahashi’s.
    Compare Ex. 1006, 5:20–22 (“perfectly transferred”; “complete transfer”)
    with Ex. 1009, 70:33–34 (“partly prevent a dark current”). Moreover,
    although Matsunaga addresses dark current, it does not purport to address
    the additional reason to modify Matsunaga, residual charge, raised by
    Dr. Kleinfelder.

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          If we were to accept Petitioner’s proposed reversal of Matsunaga’s
    amplification transistor 64 and vertical selection transistor 65, Petitioner’s
    evidence establishes that the remaining steps of claim 1 are taught in
    Matsunaga. As to step 1(b), Matsunaga describes photodiodes that receive
    light and generate photoelectric charges. Pet. 55 (citing Ex. 1009, 64:19–23,
    67:1–6). As to steps 1(c) through 1(f), as shown in Figure 62, reset pulse 7-
    1 is asserted to reset the pixel (step 1(c)); the reset transistor is turned off and
    photodiode selection transistor 63a is turned on via a pulse of signal 22-1
    (step 1(d)); photodiode selection transistor 63a is turned off and the reset
    transistor is turned on via pulse 7-1 (step 1(e)); and the reset transistor is
    turned off and selection transistor 63b is turned on via a pulse of signal 24-1
    (step 1(f)). Pet. 55–58. As explained above, if Matsunaga’s amplification
    transistor 64 and vertical selection transistor 65 are reversed, the reset and
    data outputs would be through both amplification transistor 64 and vertical
    selection transistor 65.
           In sum, on the current record, Patent Owner has cast doubt on
    Petitioner’s proposal to modify Matsunaga’s circuit to reverse amplification
    transistor 64 and vertical selection transistor 65. If that modification is
    made, though, Petitioner’s evidence supports findings that the remaining
    limitations of claim 1 are taught by Matsunaga.


                         c. Claim 2–5, 7, 9, and 11
           Regarding claims 2 and 4, Petitioner introduces evidence to show that
    Matsunaga’s photodiodes 62a, 62b generate and integrate charges regardless
    of the states of reset transistor 66, vertical selection transistor 65, and the
    other of photodiode selection transistors 63a, 63b. Pet. 58; Ex. 1002 ¶ 74.

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          As to claim 3, Petitioner’s evidence shows that Matsunaga’s
    photodiode selection switches 63a, 63b are independently controlled,
    supporting Petitioner’s argument that adjusting the turn-on and turn-off
    times of these switches controls depletion and charge generating/integrating
    times. Pet. 58 (citing Ex. 1009, 63:19–23).
          For claims 5, 7, 9, and 11, Petitioner points to evidence, shown in
    particular in Figure 62, that Matsunaga incorporates “a brief pause” between
    when the respective transistor is turned off and when the reset or data value
    is sampled. Pet. 59–61.
          In sum, on the current record, Petitioner’s evidence supports findings
    that Matsunaga teaches the additional limitations of claims 2–5, 7, 9, and 11.
    Patent Owner does not present separate argument for these dependent
    claims.


                 7. Alleged Obviousness of Claims 6, 8, 10, and 12 over
                    Matsunaga and Gowda
          Petitioner contends that claims 6, 8, 10, and 12 would have been
    obvious over Matsunaga and Gowda. Pet. 63–65. Petitioner’s evidence and
    argument for this ground track its allegations for Takahashi combined with
    Gowda (discussed in Section II.B.3 above). 3 As with its earlier argument,
    Petitioner relies on Gowda’s express teachings to show reasons to combine.


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      In its claim chart, Petitioner states that Matsunaga discloses outputting
    voltage level to an ADC, citing Ex. 1009, 8:30–34, 8:49–58, 9:36–40,
    14:10–28. Pet. 64. Nevertheless, in the argument it presents, Petitioner does
    not appear to rely on Matsunaga for this teaching or explain how its citations
    to Matsunaga here fit with those presented for the claims from which claims
    6, 8, 10, and 12 depend. Id. at 63.

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    Id. at 63. For essentially the same reasons given in Section II.B.3 above,
    Petitioner’s evidence supports findings that Gowda teaches the additional
    limitations of claims 6, 8, 10, and 12, and that a skilled artisan would have
    had reasons to combine the teachings of Matsunaga and Gowda.
          Patent Owner does not raise separate arguments for this ground.
    Prelim. Resp. 34.


                 8. Alleged Obviousness of Claims 1–5, 7, 9, and 11 over
                    Matsunaga and Dickinson
          Petitioner contends that claims 1–5, 7, 9, and 11 would have been
    obvious over Matsunaga and Dickinson. Pet. 65–66. Petitioner incorporates
    its evidence and argument presented for its proposed combination of
    Takahashi and Dickinson (discussed in Section II.B.4 above). Id. Patent
    Owner presents a combined counter-argument for Takahashi or Matsunaga
    in view of Dickinson; thus, its arguments are the same as discussed in detail
    above. Prelim. Resp. 26–29. For the reasons given in Section II.B.4 above,
    Petitioner’s evidence supports a finding that a skilled artisan would have had
    reasons to combine Matsunaga and Dickinson for step 1(a) of claim 1. The
    remaining limitations of claims 1–5, 7, 9, and 11 are discussed in Section
    II.B.6 above.


                        9. Alleged Obviousness of Claims 6, 8, 10, and 12 over
                           Matsunaga, Dickinson, and Gowda
          Petitioner contends that claims 6, 8, 10, and 12 would have been
    obvious over Matsunaga, Dickinson, and Gowda. Pet. 66. Petitioner
    incorporates its arguments as to Matsunaga and Gowda for its allegations as
    to Matsunaga, Dickinson, and Gowda. Pet. 66. Patent Owner does not raise

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    separate arguments for this ground. Prelim. Resp. 34. For the same reasons
    given in Section II.B.7 above, Petitioner’s evidence supports findings that
    Gowda teaches the additional limitations of claims 6, 8, 10, and 12, and that
    a skilled artisan would have had reasons to combine the teachings of
    Matsunaga, Dickinson, and Gowda.


                              III.     CONCLUSION
          Petitioner has established a reasonable likelihood that claims 1–12 are
    unpatentable. We have not yet made a final determination of the
    patentability of these claims or the construction of any claim term.


                                     IV.   ORDER
          For the reasons given, it is:
          ORDERED that inter partes review is instituted on the following
    grounds:
          Claims 1–5, 7, 9, and 11, under 35 U.S.C. § 103(a), as obvious over
    Takahashi;
          Claims 6, 8, 10, and 12, under 35 U.S.C. § 103(a), as obvious over
    Takahashi and Gowda;
          Claims 1–5, 7, 9, and 11, under 35 U.S.C. § 103(a), as obvious over
    Takahashi and Dickinson;
          Claims 6, 8, 10, and 12, under 35 U.S.C. § 103(a), as obvious over
    Takahashi, Dickinson, and Gowda;
          Claims 1–5, 7, 9, and 11, under 35 U.S.C. § 103(a), as obvious over
    Matsunaga;



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             Claims 6, 8, 10, and 12, under 35 U.S.C. § 103(a), as obvious over
    Matsunaga and Gowda;
             Claims 1–5, 7, 9, and 11, under 35 U.S.C. § 103(a), as obvious over
    Matsunaga and Dickinson;
             Claims 6, 8, 10, and 12, under 35 U.S.C. § 103(a), as obvious over
    Matsunaga, Dickinson, and Gowda;
             FURTHER ORDERED that the trial is limited to the grounds
    identified above, and no other ground is authorized; and
             FURTHER ORDERED that pursuant to 35 U.S.C. § 314(a), inter
    partes review of U.S. Patent No. 6,731,335 B1 is hereby instituted
    commencing on the entry date of this Decision, and pursuant to 35 U.S.C.
    § 314(c) and 37 C.F.R. § 42.4, notice is hereby given of the institution of a
    trial.




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